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                                                                                                »   2 •. t,', IJ


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                 Zi:?                b P 3: Sq
                                                                                    ''' *   r       ^ ^^      —
LARRY KLAYMAN,                                                                                         PiC         '■   ■
7050 W.Palmetto Park Road #15-287
Boca Raton, FL, 33433

                       Plaintiff
                                                            Case Number:                CV \^S
               V.



THOMAS J. FITTON
5245 42nd StNW
Washington, DC 20015

                      Defendant.




                                          COMPLAINT


       Plaintiff, LARRY KLAYMAN ("Plaintiff or "Klayman") hereby files this action against

THOMAS J. FITTON ("Defendant Fitton") for Tortious Interference, Defamation, and

Defamation Per Se.

                                   ■TIIRISniCTTON AND VENUE


       1.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332 under diversity of citizenship. The parties are citizens of different states and the amount in

controversy exceeds $75,000.

       2.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as this is the judicial district

in which a substantial part of the events or omissions giving rise to the claim occurred.

                                         THE PARTIES


       3.      Plaintiff, Larry Klayman, is an individual and a citizen of Florida. Plaintiff is a

well-known private lawyer and conservative public interest advocate and litigator, as well as a

syndicated national radio talk show host on Radio America, his weekly show appropriately titled
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